     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 1 of 19


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INT.ER NA TIO . N 2NL
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SECUR ITY BR EA CH                                                (JUDG E G RIM M )
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                R EPO R T A ND R EC O M M END ATIO N

                                    Introduction

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        heCi
          ./tyofChicago t*it.
                            '
                            >
                            'hi
                              .cagtàland thedel
                                              kndant'
                                                    M arriottlnternational,
lnc.(<iM
       ' arriott'')havereached an il-
                                    npasseonseveraldiscovel-y disputes.They
quarrelover:

   * NvhetherC hicago has answ ered correctly and com pletely :4R equestfbr

      Produetion fordocum entsrelated to the data breaeh atissue-

   * ïvhethereertain ofNlarriottintel-
                                     rogatoriesarecontention interrogatories.

   * '
     W ThetherC hicago should have to provide inform ation to N
                                                              'larriottabout

      Chicago's security procedures-

   * W'hetherChicago should provide infonnation aboutwhetheritstartetlthis

      and sim ilardata breach easesto generate revenue.




                                                                                                                1
      Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 2 of 19



                               Recom m endations.

      Forthe reasons stated in the follow'illg Repoli,lrecom m end:

   * ThatChicago be required to provide a clearerand m ore delsnite answ erto

      Nlan-iott's '
                  fsrstand second R equests forProduction.

   * 'I-hatthecourtrejectChieago'sobjection thattwo ofM arriott's
      interrogatories are contention interrogatories.

   * ThatChicago notbe required to produce intbrm ation aboutits security

      procedures.

   * ThatC.hicago m ustansw er once again RequestforProdud ion N um ber 8,

      w hich seek's docum entsthatspealt to w hetheritsm otive in t'iling this and

      sim ilarlaw suitsw asto generate revenue.



                                       R EPO R T

      1.Chicago should provide a m ore deflnite answer to Request
      for Production N o. l

   N'lan-iot'tdem anded thatChieago produc'e 4talldoeum ents and com m unications

related to the D ata Security lncident,including butnotlim ited to the

i'com m unications sentto orreceived from the City ofC hicago's D epartm entof

B usiness A ffairs''referenced on page 16 ofyour lnitialD isclosures.''RFP N o.1.
      Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 3 of 19



   Chicago responded that:til3laintiffs w illprovide non-privileged docum ents in

itspossession,custody'01-controlthatare responsive to this request-'' ld.

   ln RequestN o.2,M arriottthen dem anded thatChicago:



      2.Produce a.11docum entsand comm unicationsrelated to any
      investigation you conducted into the D ata Security incident,including
      butnotlim ited to the investigation file 1'
                                                01-the Pre-suitlnvestigation.
      Forpurposes ofthis Request,''investigation tsle''incltldes all
      docum ents and com m unicationsthatyou created,sent,received,
      obtained,orl'elied upon during orin connection w ith the Pre-suit
      lnvestigation.

      Chicago responded the sam e w ay as ithad responded to the fsrstRequest,

i.e.,$tPlaintiffs w illprovide non-privileged docum ents in itspossession,ctlstody or

controlthatare responsive to thisrequest-''

   M arriottconsidered this a paltry response to these tw o requests and sought

claril-ication.Lellerof Septem ber 1,2020,at2.C-hicago responded: ''w ith the

exception ()fa lim ited num ber ofprivileged and otherw ise protected docum ents for

which itwillprovide a log,''it''isnotwithholding any documentsor

connm unicationsw ith the 13epartm ent()fBusinessA flkirsand Consumer

Protection regarding the Nlarriott data security incident.''Id.

   Therefore,A4arriottw ondersw hetheritgotallthe docunaents itw as entitled t()

oronly the docum ents fiom the one Chieago agency Chicago specitied.Chicago

had responded that itm ade sense to fbcus on thatagency'sdocum ents because it
        Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 4 of 19



handlesm atters such as the data breach in this case.Letterof Septem ber25,2020,

at 1.

   Perhaps,butitstillseem s possible thatotheragenciesm ay have doeum entsthat

fallw ithin the tw o requests. M an-iottis entitled t()know that.

        l appreciate thatChicago triesto m eetM alniott's concern by stating in its

letterthat:ttûtlnlevertheless,theCityconlsrmshereagainthatitisnotwithholding
any docul-nentsorother inform ation related to this m atterexceptasw illbe

identifsed in itsprivilege log-t'l-.etterof Sep-tem ber25,2020,at 1.

    C lose,butnotclose enough to m eetM an-iott's concerns.ln m y view ,Chicago

has to state w hetherits production is com plete,i.e.,thatthere are no other

docum ents,w hereverthey m ay be '
                                 Iocated,thatare responsive to the tw o Requests

tbr Prodttction.lf1a1n reading Chicago'sSeptem ber25,2020 letter correctly,it

seel-
    ns to be insisting thatisw as itm eant--there are no otherdocunaents.

    To bring thisto a quick end,1 w illtake the liberty ofdrafting Chicago's

response consistently w ith what lbelieve it intended to say-there are no other

docum entsanyw here thatChicago has notproduced,and Chieago hasprovided

everything thatithasto M arriott.

   lwillusethesimplicity createdby 110u,amended Fed.R.Civ.P 35(b)(.2)(C)
w hich requiresthe responding party to state w hether itis w ithholding any

documentsbased ontheobjection.Thatmeansthatifthepartyisnotwithholding


                                                                                      4
        Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 5 of 19



anydoeumentsbeeauseof-
                     'anobjection,itisproducinga11thatithas.ltslawyeris
so certifying by signing the answ erto the R equestfor Production..
                                                                  I7ed.R .Civ.P

26(g).

    lw illtherefore deem C hicago to have answ ered the tw o Requestsas '
                                                                        fbllow s:

            Chicago w illproduce the docum entsrequested by         .lthas
        w ithheld docum entsthatitclaim s are privileged and w illcom ply w ith
        Fed.R.Civ.P 26(b)(5)(A)by      -        -.
                                                     .




        ln deem ing thatthisto be Chicago's answ ers, lam holding cotlnselto have

madethecertiscation containedinFed.R.Civ.P 26(g)(l)thatChicago's
production w as ''com plete and correct,''i,,e-,itcontained evel-ything Chieago has

thatlsresponsive t()the interrogatory. lfcounselisunwilling to m akethat

certificatlon,he should so advisem e.SeeNew Ham pshirev.M aine,532 U'S 742,

749 (2001)(''W hereaparty assumesacertainpositionin alegalproceeding,and
succeeds in lnaintaining thatposition,he m ay notthereafter,sim ply because his

interestshavechanged,assulneacontraryposition ....'')SçqAtjqflFed.R.Evid.
801(d)(2)(C)&(D)(thestatementofaperson authorizedtolnakeastatementon
    .




behalfofapady isan adm ission by thatparty.l.

   Finally,lhave leftthe datesblanlt. Iexpectcounselto conferand agree upon

dates for any additionalproduction and the detailed show ing that C hicago hasto

makeunderFed-R.Civ.P 26(b)(5)(A)ifitisgoingto elaim thatitiswitllholding
any docum entsbeeause ofa claim ofprivilege.

                                                                                      5
      Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 6 of 19



   ll.The interrogatoriesto which Chiçago objectsare not
contention interrogatories.

   Inten'ogatories 9 and 10 state:

          9. ldentifà'everyrepresentationmadeby M arriottorStarwoodthat
      fblnnsthe basisofyourclaim in paragraph 100 ofthe FirstAm ended
      Com plaintthat''kM al-riot-tengaged in deceptiveactsand practicesby
      representing thatNfalaiottused ûreasonable'safeguardsto protect
      Chicago residents'personalinform ation.''

         10. Identify evel-y (locum entand com lntm ication thatfonnsthe
      basis ofyourclaim in paragraph 1()1 ofthe FirstAm ended Com plaint
      thatM arriottfàiled to disclose thatitvilack-ed reasonable safeguards t()
      protectC hicago residents'personalinfon-nation.''


      Chicagoobjectst()lnterrtàgatories9 and 1()JSaPremattlreContentitm
interrogatory and because itseeks infonnaation ''squarely w ithin .
                                                                  M arriott's

k-now ledge,custody,and control-''PlaintiffC ity ofChicago Responses and

Obiecfionsto Defendant's Second Setoflnten-ogatories.Responseto lnterrogatory

N um ber9.

      First, 1have already held in thisease thata responding party m ustproduce

the information dem anded even ifthe responding pady lnsiststhattheresponding

party already has it-1 stated

                M arriotl has rem inded m e thatin an opinion 1w rote
             when1wasam agistratejudgelpointedoutthisisnota
             properresponse to a requestto produce. See M eN am ara
             v.Picken,CivilA ction N o.1l-105 1,20 13 W'1-2423804,
             at*3 I'DDC 20l3) (
                              '(Facciola,J.)('''tTjlaecourtshave
             rejectedasillegitlmateany objeetionbased on the

                                                                                  6
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 7 of 19



            supposition thatthe other party already has w hatitis
            dem anding.A m om ent'sthoughtshow s how im praetical
            such an obj.ection can be.Thedemandingparty cannot
            possibly know w hether ithas,in fact,allofthe
            doeum entsitisrequesting,because neithersidecan ltnow
            tt)a cel-tainty w hatthe otherside has.Itispref'
                                                           erable.
            easier,and lnore ellficientt()the producing party t()
            produce w hatithas,so the dem anding party can
            deterl'
                  nine,w ith allthe records in frontofit,w hetherit
            hasalltheinfbrmation itneedsandwants.''l.
  R eportand Recom m endation,ECF No.649 at 14.

      Therefore,thatM an-iottm ay have the infonnation itseelts is in-elevant.

      Second,an interrogatory thatasks a party 1b1-the factsthatsupporta

eontention is nota contention interrogatooz.ln R oberts v.H eim ,130 FRD .424,

430,(ND Calif.1.989),thecourtstated:
                lt is notdiffscultto diseern a signilicantdifference
            betw een an intel-rogatory w hich,forexam ple,asks a
            plaintiffto ''state allfacts upon which you base your
            contention thatdefendantis liable in this action''and an
            interrogatory w hich asks a plaintiffto ''state al1facts
            upon w hich you base your contention thatdefendantw as
            in attendance atthe m eeting ofJantlary 10,1989''.The
            latteris a reasonable interrogatory,and the folnneris not.

   ln M osesJr.lrlalstead,236 FRD.667,674(D.Kan.2006),thecourtagreedand
stated:

                Thus,the generalrule in this courtis that
            interrogatories m ay ''properly ask fbrthe 'principalor
            m aterial'facts w hich supportan allegation or defense.''ln
            addition,intel-rogatoriesm ay seek the identitiesof
            know leclgeable persons and supporting doeum ents tbrthe
      Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 8 of 19



             ''principal''or ''m aterial''facts supporting an allegation or
             detknse.




      Interrogatory 9 asksChicagoto identis-'certain representations,while
lnterrogatory 10 asks itto identify docum ents thatform the basis ol
                                                                   ?a certain claim .

N eitherintel-
             rogatol-y ''asks for an opinion orcontention the relatesto factorthe

applicationoflaw to fact.''Fed.R.Civ.P 33(a)
                                           ,(2).They simply demandthat
Chicago identify specit'ic docum ents. They are notcontention interrogatories,and

Chicago m ustanswerthem .

   111.C hicago does not have to provide inform ation aboutits
security procedures

   ln its FirstAm ended C om plaint,Chicago accused N'Iarriottofnothaving in

plaee speciû'c security procedures and protocolsthatm lghthave prevented the data

breach thatisthesubjectofthiscase.Chicago hasaskedthatthecou14fine
Nlarriott$10,000 aday,require itto alteritsdata seettrity practices,and create a

tçcity-run fiaud-m onitoring program on behalf'ofChicago residentsa''Letterof

Septem ber 1,2020.See A m ended Com plaint,para.80-108,EC.
                                                         F N o.27.

   M arriottw ants to ltnow w hetherC hicago had in place procedures and protocols

to protectitscitizensw hen the breach atissue in this case occurred. M arriott

justitiesitsdem andon thegroundthatthepotshouldnotcallthekettleblack.
      Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 9 of 19



Chicago should diselose itsproceduresso thatM an'iottcan detknd itselt-against

clailusforinjunctivereliefand arguethatChicago'sprocedureswerenotany
betterthan M al'rîott's.

      F irst,there isno infolmnation thatM aln-iottm akes available ofhow the statute

thatimposesthe finet)ritsjudicialinterpretationwould perm it'
                                                            M arriottto argue
thatany laxnessordeticiency in Chicago's security proceduresshould either

preventthe il-
             nposition ofa fsne orm itigate it- Therefbre,1cannotfind that

Chicago'ssecurity proceduresarerelevantto any issue in thiscase.See Fed.R.

Civ.P 26(b'
          )(lltdiscovery lim itedto matterthatisrelevantto claim ()rdefense.)Cf.
Fed.R.Evid.40ltevidence isretevantifh makesafhctm ore orlessprobablethan

itw ould be w ithoutthe evidence,and the faetis ofconsequence in determ ining the

actitln-)
   Second, thatthe eoul4 w illim pose the m onitoring.program is unlikely.The

fundam entalpreceptofequity isthatit is nota'
                                            vailable w hen there is an adequate

rem edy atlaw sandthepady seeking equity isthreatened by irreparableharm .A ge

ofNlaiority Educ.Corp.v.Preller,512 F.2d 1241,1243 (4th Cir.1975).ln eBay

lnc.v.M erclïxchange.LI.
                       -C.
                         ,,547US 388,391(2006),theSupremeCourtstated:
                A ccording to w ell-established principlesofequity,
             plaintiffseeking apermanentinjunctionmustsatisfya
             four-factortestbefore a coul'
                                         tm ay grantsuch relief.A
             plaintiffmustdemonstrate:(1)thatithassuffered an
             in-
               eparableinjury;(2)thatremediesavailableatlaw,such
             as m onetary dam agesr
                                  ,are inadequate to com pensate fbr

                                                                                   9
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 10 of 19



             thatinjury;(3)that,considering thebalanceofhardships
             betw een the plaintiffand defendant,a rem edy in equity is
             walmanted;and(4)thatthepublicinterestwould notbe
             disservedby apermanentiqjunction.

      Ful-thennore,the threatofirreparable harm 1%t1stbe im m ediate.The

Stlprelne C ottrthas also said:

             Lyonsfares no better ifitbe assum ed thathis pending
          dam ages suitaffords him A rt.lI1standing to seek
          an iqjtmction asaremedy fortheclaim arising outofthe
          O ctober 1976 events.The eqtlitable rem edy isunavailable
          absentashowing ofirreparableinjury,arequirementthat
          cannotbe m etw here tllere is no show ing ofany realor
          im m ediate threatthatthe plaintiffw illbe w ronged again --
          a ''likelihood ofsubstantialand im m ediate
          f'
           rrc/ptkrtz/p/tainjul-y.''O '
                                      Sheav.Littleton,414 US,at50.
   L0sAngelesv.Lyons,461Us 95,109(lg83ltemphasisadded).

      The creation and enforcem entofa fraud m onitoring program are unlikely

underthese factors.

    First,îfChicago's residents w ere threatened w ith irreparable hann w hen they

tlled theircomplaint,why didthey notseekilnmediate injunctiverelieo ltis
inconeeivable thatseveralyears allerthe breach,Judge G rim m w illtake the claim

ofChicago's residents seriously,perhaps a yearfrom now , thatthey are threatened

w ith im m ediate in-eparable harm l'
                                    kom thatbreach when they did notseek'

im m ediate reliefsvhen Chicago filed its com plaint.A nt1,w otlld they notcancelthe

creditcards aftkcted by the breach,having becom e aNvare ofit?
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 11 of 19



      Second, m onetary dam ages ln the form of'
                                               M anriotthavtng to reim burse

victim s ofthe breach to buy program sthatprotectfrom them the consequences of

adatabreach are adequate.Such program s (e.g,,Norton LifeLock) arenow
                                             .




readily available and ttsed by m any people,including m e.IfChicago's residents

have canceled theircards and are com pensated 1301'buying such a program ,they do

notneed injunctiverelief.Nol'shouldthey fearanyhardship from thebreaeh inthe
future ifthey takeordlnary stepsto protectthem selves.'rhere isno public interest

ln creating an unneeded program .

       % eou14 in equity m ay balalw e otherfactors in exercising itsequitable
       ,



disc.retion,such asthatonem ustcom e into equity w ith clean hands.Butsloppy

securit'y procedureswhen the breach occurred do notseem to qualify as ''dirty

hands''orhave anything to do w ith w hetherto aw ard Chicago equitable relief The.




Fourth C ircuithas staled:

                The purpose ()fthe tm clean handsdoctrine is to
            ''preventthe courtfrom assisting in fraud orother
            inequitable conduct....''xkl('lna v.,f
                                                 jvlèna Elec.Grp.,Inc.,
            l76M d.App.672,714,934 A.2d450,474(2007)
            (quoting Tlirnerv.F?/r/?cr,147M d.App.350,419,809
            A.2d 18,58 (2002))(internalquotation marksom itted).lt
            ''isavailable to deny relief' -to those guilty ofunlaw fulor
            inequitable conductw ith respectt()the m atterfor w hich
            reliefis soughte''Ar
                               /ipzkt-
                                     f, 176 M d.A pp.at714,934 A .2d
            at474.To invoke the doctrine,there m ustbe a ''nexus
            betw een the m isconductand the transaction because
            'whatism aterialisnotthattheplaintiffshandsare dirty,
            butthat(sheldirtiesthem in acquiring theright(sheq
            now asserts.'''


                                                                                     11
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 12 of 19




   United Bank v.Buckingham ,761F.App'x 185,191(4th Cir.2019)-
                                                        .




   M aniottcannotpossibly m eetthatstandard by proving thatChicago's security

proceduresw ere no betterthan M arriott'sw hen the breach occurred.Prem ising the

availability ofreliefon the deticiencies in Chieago's security procedures,years

before the conclusion ofthe case and the application fbrequitable relief, w ould be,

in m y view , an abuse ofdiscl-etion. Therefore,M arriottdoesnotneed evidence

todetknd itselfagainsttheaward ofinjunctiverelief.
   Finally,lappreeiate that C hicago'ssupposed hypocrisy m ay be fodderfor

cross-exam ination.lfChicago produces a w itness w ho testifâes to the

unreasonablenessofM arriott'slneasures,itm ay beappropriate to im peach herby

asking whetherChicago's security procedureswere no better.But,the legitim acy

ofthatquestion is,as Chicago pointsout,a function ofw hethercom paring a hotel's

security procedures to a m unicipality's iscom paring an apple to an apple.ln any

event,ifM arriott'sw ere as pooras Chicago's,itdoesnotl'
                                                       nake M arriott's

proceduresreasonable.1doubtthatJudge G rim m w'illallow such cross-

exam ination.Forallthese reasons,1 see no reason to com pelChicago to produce

w hatM an-iotl dem ands.

   IV C hicago should be required to com ply w ith R equestfor P roduction 8.




                                                                                    12
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 13 of 19



   RequestforProduction N um ber 3 dem ands thatC hicago produce docum ents

relating to the requestofa Chicago Com m issionerthatthe Chicago Law

D epartm entbring thisaction ''orany otherlaw suit...related to a data breach.''

R equests7 and 8 ''seek docum ents pertaining to the city's decision to apply its

ordinanceto data breachesgenerally and whetherthatdecision w'asm otivated by a

desire to generate revenue.''LetlerofSeptem ber 1,2020,at2.

   M arriottinsists that ithas a rightto learn w hetherChicago's desire to increase

revenuemotivatedChicagoto bring thisandotherdatabreach cases.J
                                                             -(.at3.
    Chicago countersthatcourtshave consistently held thatthe m otive forbringing

law suits isirrelevant.LetterofSeptem ber25,2020,at2.But, Nzlarriottpoints to

cases w here C hicago itself sottghtperm ission to prove a plaintiffs m otive 1'
                                                                               01-suing

it.LetlerofSeptem ber 1,2020,at4.

      W hile 1 appreciate C hicago's reliance on cases thatsupportits position,1

m ustsay thatin m y view ,saying thata m otive for bringing a lavvstlitis not

admissible,istoo greatageneralization.Itiseasy to conjureacasewhereitmight
be,Sm ith,a governm entofficial, saysto Jones,a new spaperpublisher,''you better

notprintthatstory abotltm e or lw illsue you and putoutofbusiness.'' Say that

Jonespublishesand Sm ith suesJones.O ne ishard-pl'essed to see w hy Jonescannot

testify to Sm ith's threatand prove his m otive in bringing the lawsuit.
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 14 of 19



    'Fhus,generalizationsby coul-tsthat''m otive isinadm issible''are notalw ays

true.Be thatas itm ay, 1tsnd itm uch m ore significantthat1 see an unsettling

inconsisteno 'in Chicago's assel-tions thatits m otives in bringing law suits are

irrelevantand its describing,atthe very sam e tim e, its m otives in bringing this and

sl
 -lml
    -1ar1aNvsu1
              -ts.

      First, in opposing M arriott's m otion t()dism iss its FirstA m endekl

Complaint,Chicago argued'
                        .

                'I-he C ity also seeks to protectitsproprietal-y interest
             in tçvindicatllingqtherightsofitsresidents''underthe
             ordinance.City ofM ilwaukee v.Saxbe,546 17.2:1693,
             698(7th Cir.1976-
                             ).Courtshaverepeatedly applied this
             rule in lsnding thatcitieshad standing based on the
             ttinjuriesofgtheirlresidents.''City ofNorth Chi.v.
             Hanovnikian,2006W l-1519578,at*2 (ND 111.M ay30,
             2006), .accordCityofStampsv.Aloca,Inc.,2006W L
             2254406,at*6 (W .D.Ark.August7,2006).The FA C
             allegesthat''M arriott'smiscondtlcthasinjured Chicago
             residents''in m any w ays,such as causing them to pay
             m ore than they otherwise would have to stay atM arriott
             propertiesand tosuflkrf'
                                    raudand identitytheft.l(FAC
             !'
              !54-64.)
   Plaintiff'sRespor jlM em orandum in Opposition to D efendkmts'M otion to

Dlsmiss(EC F No.382)at14.
      ln now'arguing in the m atter before m e,why M arriottisnotentitled to the

diseovery itseeks,Chicago states'
                                .

                M ald ottnexttakes issue w ith the C ity's responses and
             productions related to Requests 3,7,and 8.Nlan'iott's
             concel-
                   ns here are anim ated by the m istaken beliefthat
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 15 of 19



            the C ity had som e ''ulteriorm otive''fbrbringing this
            litigation i.e.,generating reventle.ln fact,theCity was
            notm otivated by potentialcivilfinesin fling this action,
            so there are no docum ents supporting thatnotion.R ather,
            the C ity sued because M aniott's adm itted failure to
            sectlre Chicago residents'data violated m unicipallaw ,
            iniuringtheCity and subjectingtensofthousandsof
            Chicagoansto potentialidentity theftand otherharm in
            the process.

   Let-ter()fSeptem ber25,2020,at 1.

      ln thatsam e letter,C hicago goes furtherand speaksabsolutely ofhow it

does not bring ''affinnative litigation as a m ethod ofgenerating revenue.''Letterof

Septem ber25,2020,at2.ltthen discusses itseffbrts in tw o data breach cases,

againstU berand Eqtlifax,and insiststhatthe resolution ofone was ''clearly a far

ery t'rom m eeting itsbudgetary needs.'' J4.Chicago thenpointsto fàctsthatit
                                        -




elaim s show thatitdoesnotbring law'suits to m ake m oney.

   Thus,having assel-ted thatits m otives are in-elevant,C hicago proceedsto

describe and characterize them ,insisting thatthey have nothing to do w ith m oney.

ltisnotfairofC hicago to eontrolthe narrative by asserting w hatitsnaotivesw ere

butto prohibit'
              M arriottfrom tinding evidence thatcontradictsthatnan-ative.ltis a

centralpum ose ofdiscovery to create an equality ofk-now ledge as to a pertinent

issue.The Suprem e Court has stated:

                M utualknovvledge ofallthe relevantfacts gathered
            by both parties is essentialto proper litigation.To that
            end,eitherpal4y lnay com pelthe otherto disgorge
            w hatever factshe has in hispossession.
        Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 16 of 19




   !1
   ...
     ttk!ll?11-Ais-'E>J!lfM,329US 495,507(1947)
       Since Chicago has putitsm otives in issue,discovery pertaining to those

m otives is appropriate.M arriott's entitlem entto the inform ation itseeksthen

becomesafunctionofapplyingthefaetorsidentified in Fed.R.Civ.P 26(b)(1) to
ascertain w hetherthe discovery soughtshould be perm itted.

         The factors are:

         The im portance ofthe issues at.stal
                                           -te in the action

         7-he am ottnt ln coatroversy

         The parties'relevantaccess to relevantinform ation

         The pal-ties'resources

         The im portance ofthe discovery in resolving the issues

         W hetherthe burden orexpense ofthe proposed discovery outsveighs its

         likely benefit.

       A pplying those faetors,and in supportofperm itting the discovery,itm ustbe

said thatthe isstles involved inthiscase are im portant.They pel-tain to a signiticant

data breach thatm ay bave aff-
                             ected hundreds ofpeople.The afnountin controversy

issubstantial. A tsne of$10,000 a day isnothing to sniffat.Chicago hasunique

access to the inform ation,w hîch also favol's discovery.
        Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 17 of 19



      O n the otherhand,the evidence,adm issible solely to attack Chicago's

credibilitylisnotin itselfdispositive, w hich in the calculus w eighs against

perm itting the discovery ifthe effortto getit is disproportionate.

      Finally,the factorofthe parties'resources isneutral. The parties,the nation's

third-largestcity and an internationalhotelchain,w hich ow ns severalhotels in that

city, w ould seem t()have equalresources.

      The t'
           inalissue,ttsually the m ostcrucial,is one oflnarginalutility-does the

burden and the expense ofdoing the discovery outw eigh its benetit?

      First,in R eqttestto Prodtlce N um ber 7,M arriottseeks allinfolquation ''relating

to'' approving or disapproving bringing law sttits involving breaches.

      M an-iottdoes nothave any use forintbrm ation thatdoes notspeak to w hether

theapprovalwasbased on a desireto generaterevenue by seeking.flnes.

Inform ation aboutany other m otivation fbrChicago to bring a law suithas nothing

to do w ith thiscase.Chicago need notansw erit.There isno benetitto com e from

1
*t.




      1Evidencetobeused to i'
                            m peach credibility,isdiscoverable.W ilshire v.Love,Nt7.3:14-cv-
08374,2015 tJS Ilist.l.'-E.XIS41240,at*9(SD '   W'.Va.March3l,2015);Becknerv.Bayer
CrtJpscierlqçaul
              -t
               -
               yop.,C'
                     ivilA.ctionNo,2:05-cv-()()530,2006US Dist.l.l2XlS44197,at*9(SD W .
Va.June28,2006 );NeNvsomev.Penske'l'      ruckLeasingCorps,437F.Supp.2d.43l,437(D.
M d.2006)



                                                                                          17
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 18 of 19



    l'lowever,M arriott'sRequestN um ber8 isproperly lim ited since itseeks

infon-nation aboutbringing law suits ''to generate revenues,lsnes,or fees f01-the

City'ofC hicago-''In lny view ,itseeks relevant intbrm ation and is narrow ly

tailored to getit.

   However)foritspart, Chicago doesnotspecify with any particularity what

burden itw ould incurifithad to com ply w ith num ber8 butsim ply says thatitis

disproportionate.lthasbeen true,how ever,since atleastthe 20 15 am endm entsto

the FederalR ules ofC ivilProcedure, thatdetailed and specitic ft
                                                                'tctsm ustsuppol-t

a claim ofburdensom eness.lndeed,in cel-tain cases,the failure to m ake such a

showing isgroundsin itselftooverruletheobjectionbasedon ''burdensomeness-''
A n-o% ttnter.Com puting Sols.slnc.v.BlueA.11:.
      -                                       ,LLC,No.5:15-CV-00037-FL,

2016SVL 4287929,at*1(EDNC August15,2016),
                                        'VillaP-
                                               olycarpev,Seterus,

Inc.,2017 W L 2257571(M D Fla.M ay 23,2017)-
                                           ,(
                                            M ann v.City ofchicago,1'
                                                                    .15-

cv-09197,2017US Dist-Lexls146039 *14-15(ND 111.September8,2017).
    lhave notdecided to recom m end thatJudge G rim m overrule Chicago's

objection onthatground atthispoint.lnstead,1wi1lrecommendthatJudgeGrimm
overrulea1lofChicago'sobjeetionstoRequestforProduction8 butperm it
Chicagotorevisit'
                whetheritwillanswerit.lfitisgoingto objeet011theground
thatanswering i.
               twillcreatean uqjustit-iableburden,itw illhaveto suppol-tthat
assertion w ith specitic facts and figures.A sthe case 1have cited,and other sim ilar



                                                                                    18
     Case 8:19-md-02879-PWG Document 663 Filed 10/14/20 Page 19 of 19



casesindicate,the federaljudici
                         .    ary hasreachedthelimitof itspatiencew ith
''generalobjections''and theboilerplateincantation of''burdensomeness.''If
Chieago does notw antto com ply w ith R equestN'ttm ber8,itm ustm ake the m ost

specilsc show ing ofw hy itshould nothave to answ erthis Request.

   Iask counselto m eetand conferand set deadtines for Chicago's response.I

would ask counselto aIs()advisel'
                                ne 0f:
                                     -whathashapp.ened,so 1willsee ifthereis

anotherissue l have to resolve.




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Dated:
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